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GOLDSMITH & HULL,A.P.C.

16933 PARTHENIA STREET, SUITE 110
NoRTHRIDGE,CA 91343‘

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govdeptl@goldsmithcalaw.com

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER:
UNITED STATES OF AMERICA

PLAINTIFF(s), CV -13-03572 va\/'St\

 

 

ROBERT D CHAIN ABSTRACT OF ]UDGMENT/ORDER

 

DEFENDANT(S).

1 certify that in the above-entitled action and Court, ]udgment/Order Was entered on 11/ 14/ 2013

in favor of UNITED STATES OF AMERICA C/ 0 GOLDSMITH & HULL, A.P.C.

Whose address is 16933 PARTHENIA STREET, SUITE 110, NORTHRIDGE,CA 91343

and against ROBERT D CI-IAIN

, Whose last known address is 17512 Califa st,, ENCINO,CA 91316

for $11,573_43 Principal, $ 10,184.70 Interest, $ 0.00 Costs,
and $ 0.00 Attorney Fees. l

ATTESTED this _______day Of §§Ww\\o,@ r 20 _|_‘<}
]udgment debtor’ s driver' s license no. and state; (last 4 digits) Unknown.

]udgment debtor’ s Social Security number; ****-**7273 (last 4 digits) |:| Unknown.
No stay of enforcement ordered by Court
|:| Stay of enforcement ordered by Court, stay date ends

 

 

 

 

 

 

 

 

 

]udgment debtor’s attorney’s name and address and/ or address at Which summons Was served:

17512 Califa st
Encino, CA 91316

 

 

 

 

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NOTE: ]UDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE DISTRICT OF ORIGIN
AND CALCULATED AS OF THE DATE OF ENTRYIN THATDISTRICT.

 

G- 18 (03/12) ABSTRACT OF IUDGMENT/ORDER

